       Case 1:23-cr-00239-CKK          Document 289        Filed 03/20/25      Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                v.                                        Case No. 23-cr-239 (CKK)

 ILYA LICHTENSTEIN, et al.,

                Defendants.
                                                          UNDER SEAL
              *************

 XYZ INC.

        Intervenor, Claimant, and Third-Party
        Petitioner.


  SEALED MOTION FOR LEAVE TO PROCEED BY PSEUDONYM AND FILE
MOTION TO INTEVENE AND OBJECTION TO PROPOSED RESTITUTION ORDER
           AND VERIFIED ANCILLARY PETITION UNDER SEAL

                      (“Movant” or “XYZ Inc.”), by and through undersigned counsel, hereby

requests leave to proceed by pseudonym “XYZ Inc.” and to file under seal: its attached Motion to

Intervene and Objection to Proposed Restitution Order and the exhibits thereto (Exhibit A); and

its attached Verified Petition for Hearing to Adjudicate its Third-Party Claim in Forfeited Property

and the exhibits thereto (Exhibit B). Movant has a superior claim to certain of the assets that

Defendants stole and laundered and is a victim of Defendants’ crimes.

                                       MEMORANDUM

       Movant is a closely held corporation that was a victim of Defendants’ crimes. Movant has

publicly identifiable connections to individuals who could be targeted physically or electronically

by criminals, if Movant’s identity is disclosed. If directed by the Court, Movant will file this

Motion and the attached Motion, Petition, and the exhibits thereto pseudonymously as “XYZ Inc.”
       Case 1:23-cr-00239-CKK          Document 289        Filed 03/20/25      Page 2 of 6




with limited redactions to remove its name, account numbers, and the specific amounts of assets

transferred or at issue. The information Movant seeks to seal is narrowly targeted to protect well-

founded privacy and security concerns. There is good cause to allow such information to remain

under seal.

       The property that is subject of the Motion is Bitcoin (“BTC”), a digital currency stored in

pseudonymous digital wallets on a public blockchain. Many courts have recognized the unique

safety risks presented by publicly identifying individuals and associating them with such assets,

particularly with large cryptocurrency holdings or transactions, including risks to associated

individuals and their families of identity theft, electronic intrusion, and physical harm. There are

numerous known instances of kidnapping and violent assault from those seeking to obtain digital

assets by force, and cyber-attacks prompted by litigation disclosure. Protecting against these risks

is particularly warranted here. Movant files this Motion as a result of being a victim of the 2016

hack of Bitfinex perpetrated by Defendants. To require those same hack victims to publish their

identifying information on the public docket in order to recover their lost Bitcoin risks opening

these victims to another round of criminals who might seek to re-victimize them in order to

abscond with any recovery or other crypto assets these individuals may possess, either through

fraud or through violence.

                                          ARGUMENT

       There is a “presumption in favor of public access to judicial proceedings,” but “that

presumption may be outweighed by competing interests.” In re Los Angeles Times Commc'ns

LLC, 28 F.4th 292, 297 (D.C. Cir. 2022) (quoting In re Leopold to Unseal Certain Elec.

Surveillance Applications & Ords., 964 F.3d 1121, 1127 (D.C. Cir. 2020)). When a court is

presented with a motion to seal, it should weigh: “(1) the need for public access to the documents




                                                 2
       Case 1:23-cr-00239-CKK            Document 289         Filed 03/20/25     Page 3 of 6




at issue; (2) the extent of previous public access to the documents; (3) the fact that someone has

objected to disclosure, and the identity of that person; (4) the strength of any property and privacy

interests asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the purposes

for which the documents were introduced during the judicial proceedings.” Metlife, Inc. v. Fin.

Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017).

        Movant’s Objection, Verified Petition, and the associated attachments contain detailed

financial information, including account numbers and transaction amounts. That information,

especially if available in combination with Movant’s identity, would present a real risk of physical

and/or financial harm to Movant and associated individuals.             Courts in this District have

recognized the right of parties to proceed pseudonymously where identification poses a risk of

harm to the requesting party that outweighs the public interest in full disclosure. See, e.g., Doe v.

Fed. Republic of Germany, 680 F. Supp. 3d 1 (D.D.C. 2023), reconsideration denied, No. CV 23-

1782 (JEB), 2023 WL 4744175 (D.D.C. July 21, 2023); In re Sealed Case, 931 F.3d 92 (D.C. Cir.

2019); Doe v. Lieberman, No. 1:20-CV-02148, 2020 WL 13260569 (D.D.C. Aug. 5, 2020). Courts

elsewhere have done so as well. In re FTX Trading Ltd., No. 22-11068, ECF No. 1612 (Hr’g Tr.),

at 157 (Bankr. D. Del. June 9, 2023) (redacting customer names because “there’s all kinds of

information about individuals that can be found with just a name” and that if they “have a name

and they are an FTX customer, they can be targeted, and that is what we need to protect here”);

see also In re Clover Techs. Grp., LLC, No. 19-12680, ECF No. 146 (Hr’g Tr.) at 24:21–25 (Bankr.

D. Del. Jan. 22, 2020) (redacting names of cryptocurrency holders from public court filing because

of “at best, a risk of identity theft and worse a risk of personal injury”).

        Maintaining petitioner’s anonymity is also appropriate given the actual history of

information associated with crypto transactions being filed in court, and subsequently being used




                                                   3
       Case 1:23-cr-00239-CKK              Document 289     Filed 03/20/25    Page 4 of 6




to target crypto holders and/or to steal funds. See, e.g., Nicolae Bochis, Crypto Lender Celsius

Exposed            Financial       Data,         CYBERGHOST          (Jan.      23,         2024),

https://www.cyberghostvpn.com/privacyhub/celsius-exposed-data/; Andy Greenberg, Celsius

Exchange Data Dump Is a Gift to Crypto Sleuths—and Thieves, WIRED (Oct. 13, 2022),

https://www.wired.com/story/celsius-user-data-dump-crypto-tracing-scammers/. Movant has a

considerable interest in protecting the privacy of its financial information and any associated

information that might be further used to target or steal from it.

       Similarly, Movant has a significant interest in avoiding the risk of physical harm to

associated natural persons. See, e.g., Business Insider, Kidnapped for Crypto: Criminals See

Flashy Crypto Owners as Easy Targets, and it has Led to a Disturbing String of Violent Robberies

(Feb. 9, 2022), https://www.businessinsider.com/crypto-nft-owners-targeted-kidnaps-home-

invasions-robberies-2022-2 (describing kidnapping of the wife of blockchain firm owner as

ransom, one of more than 100 publicly reported physical attacks on crypto owners in recent years);

Federal    Bureau of       Investigation    Public Service Announcement      (Feb.     8,   2022),

https://www.waterisac.org/system/files/articles/ic3_psa_sim_swap_scheme.pdf (informing public

of the “increasing use” of efforts by criminals “to steal money from fiat and virtual currency

accounts” and recommending that individuals take precautions to protect against theft, including

to “not advertise information about financial assets, including ownership or investment of

cryptocurrency”); Federal Trade Commission, What To Know About Cryptocurrency and Scams

(May      2022),      https://consumer.ftc.gov/articles/what-know-about-cryptocurrency-and-scams

(warning of blackmail scams involving “emails or U.S. mail sent to [an individual’s] home” that

threatens to make information public unless payment made in cryptocurrency).




                                                  4
       Case 1:23-cr-00239-CKK          Document 289          Filed 03/20/25    Page 5 of 6




       Movant will, of course, provide counsel for the parties with copies of its sealed

submissions. Additionally, at the Court’s direction, Movant will publicly file copies of these

pleadings that have been redacted to conceal the confidential financial information and

accountholder identity described above.

       Movant therefore requests leave to file under seal:

            1) Movant’s Motion to Intervene and Objection to Proposed Restitution Order and

                the exhibits thereto (Exhibit A);

            2) Movant’s Verified Petition for Hearing to Adjudicate Its Third-Party Claim

                Asserting Legal Interest in Forfeited Property and the exhibits thereto (Exhibit B).

                                          CONCLUSION

       For the foregoing reasons, Movant requests leave to file under seal: (1) its Motion to

Intervene and Objection to Proposed Restitution Order and the exhibits thereto (Exhibit A); and

(2) Movant’s Verified Petition for Hearing to Adjudicate Its Third-Party Claim Asserting Legal

Interest in Forfeited Property and the exhibits thereto (Exhibit B).



Date: January 28, 2024                        Respectfully submitted,


                                              /s/ Aitan D. Goelman
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                                                    5
       Case 1:23-cr-00239-CKK          Document 289        Filed 03/20/25      Page 6 of 6




                                 CERTIFICATE OF SERVICE

        I, Christopher R. MacColl, hereby certify that the foregoing Motion and the Attached
Exhibits, requested to be filed under seal, are being served upon counsel of record for the parties
to the above-captioned action.

                                                     /s/ Christopher R. MacColl
                                                     Christopher R. MacColl




                                                 6
